Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
11/05/2021 01:08 AM CDT




                                                         - 157 -
                               Nebraska Supreme Court Advance Sheets
                                        310 Nebraska Reports
                                                   STATE v. JACOB
                                                  Cite as 310 Neb. 157



                                        State of Nebraska, appellee, v.
                                           Steven Jacob, appellant.
                                                    ___ N.W.2d ___

                                        Filed September 17, 2021.   No. S-20-584.

                                             supplemental opinion
                  Appeal from the District Court for Lancaster County: Darla
               S. Ideus, Judge. Former opinion modified. Motion for rehear-
               ing overruled.

                    Steven Jacob, pro se.

                  Douglas J. Peterson, Attorney General, and Austin N. Relph
               for appellee.

                    Miller-Lerman, Cassel, Funke, and Papik, JJ.

                  Per Curiam.
                  This case is before us on a motion for rehearing filed by
               the appellant, Steven Jacob, concerning our opinion in State
               v. Jacob, 309 Neb. 401, 960 N.W.2d 327 (2021). We find no
               substantive merit to Jacob’s motion and overrule it, but modify
               the opinion as follows:
                  In the background section, under the subheading “Motion
               for DNA Testing,” we withdraw the last sentence of the first
               paragraph, id. at 405, 960 N.W.2d at 331, and substitute the
               following:
                     Jacob argued that with current methods of retrieving
                     DNA from shell casings, the DNA on the shell casings
                              - 158 -
         Nebraska Supreme Court Advance Sheets
                  310 Nebraska Reports
                         STATE v. JACOB
                        Cite as 310 Neb. 157
      could “identify who took and loaded the firearm from
      [his] office” and is exculpatory because it “shows the
      Llama 9mm handgun used in the shooting was NOT in
      [his possession] at the time of and preceeding [sic] the
      shooting.”
   In the background section, under the subheading “Motion
for DNA Testing,” we withdraw the last sentence of the second
paragraph, id., and substitute the following:
      Thus, according to Jacob, that person’s DNA could be
      present on the shell casings found by the police.
   In the background section, under the subheading “Motion to
Alter or Amend,” we withdraw the fourth sentence of the first
paragraph, id. at 408, 960 N.W.2d at 333, and substitute the
following:
      In regard to DNA testing on the shell casings, Jacob
      reasserted his argument that because he only kept four
      cartridges loaded in the gun, and because the police found
      six shell casings and one unfired cartridge, the person
      who fired the gun would have had to insert more car-
      tridges, meaning that the DNA of the shooter could be on
      the shell casings found at the crime scene.
   In the analysis section, under the subheading “Denial of
Jacob’s Motion for DNA Testing,” we withdraw the third
paragraph, id. at 413, 960 N.W.2d at 335, and substitute the
following:
         Jacob claims the requested testing on the shell casings
      would show other individuals’ DNA on the shell casings,
      which would prove that he was not the shooter. Jacob
      also claims the requested testing on the gauze would
      show the presence of Etherton’s DNA, ultimately giv-
      ing Hopper a motive to shoot Etherton. We agree with
      the district court’s conclusion that even if we were to
      assume that Jacob’s DNA was absent from the items,
      or that the DNA of Hopper, Etherton, or Ingram was
      present on those items, such results would not provide
                            - 159 -
        Nebraska Supreme Court Advance Sheets
                 310 Nebraska Reports
                       STATE v. JACOB
                      Cite as 310 Neb. 157
      noncumulative exculpatory evidence that Jacob did not
      fire the shots.
  The remainder of the opinion shall remain unmodified.
                       Former opinion modified.
                       Motion for rehearing overruled.
  Heavican, C.J., and Stacy and Freudenberg, JJ., not
participating.
